Case 7:20-mj-00586 Document 1 Filed on 03/04/20 in TXSD- Page 1 of 3

 

 

 

 

AOBnited States i , ig I@ioumplaint
¥ UNITED STATES DISTRICT COURT
AR O4 2020 :
or the
David IJ. - Bradley, Clerk Southern District of Texas
United States of America )
V. )
Julio VILLARREAL-PERALES, YOB: 1977 (MEX) " Case No. M- 20 - 0586 “™
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 03/02/2020 in the county of Starr in the
___ Southern District of Texas , the defendant(s) violated:
Code Section . Offense Description

31 USC 5332 (a)(1) Bulk Cash Smuggling Into or Out of the United States

This criminal complaint is based on these facts:

(See Attachment 1).

1 Continued on the attached sheet.
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Jose A. Rodriguez, Texas DPS CID Special Agent

Printed name and title

Sworn to before me and signed in my presence.

‘Date: — 03/04/2020 — 8 3-3. An

 

LZ Judge's signature

City and state: McAllen, Texas | Juan F. Alanis, U.S. Magistrate Judge

 

Printed name and title
Case 7:20-mj-00586 Document 1 Filed on 03/04/20 in TXSD Page 2 of 3 .

Attachment 1

On March 2, 2020, Texas Department of Public Safety (DPS) Criminal Investigations
Division (CID) Special Agents and Texas DPS Ranger Recon Division received
_ information from a source of information (SOl) about a vehicle that was going to pick up
a large amount of U.S. currency from Rio Grande City, Texas and then transport the
currency into Mexico through the U.S. Customs and Border Protection (CBP) Rio Grande
City, Texas Port of Entry (POE).

On this same date, agents established surveillance in the area of the Rio Grande City,
Texas in an attempt to locate the vehicle. Agents learned from the SOI that the vehicle
attempting to transport the money into Mexico would be a small silver colored vehicle with '
Mexican registration. During surveillance agents observed a small silver Volkswagen
Tiguan sedan with Mexican registration travelling east on U.S. Expressway 83 towards
the Rio Grande City POE. Texas DPS CID Special Agents and Texas DPS Ranger Recon
officers then coordinated with Texas DPS Highway Patrol to conduct a traffic stop on the
Volkswagen Tiguan.

- At approximately 2:58 p.m., Texas DPS Highway Patrol conducted a probable cause
traffic stop on the Volkswagen Tiguan for following to close to the vehicle in front of it. The
traffic stop occurred on United States (US) Highway 83 at Mile Marker 820 in Rio Grande
' City, Texas which is approximately 1 mile from the Rio Grande City POE. The driver and
sole occupant of the Volkswagen Tiguan was identified as Julio VILLARREAL-PERALES.
‘During a road side interview, VILLARREAL-PERALES stated that he was the owner of
the Volkswagen Tiguan and he was the only one that drove the vehicle on March 02,
2020. VILLARREAL-PERALES stated that he did. not have bulk currency or illegal
contraband in his vehicle. Agents then asked for and were granted verbal consent by
‘VILLARREAL-PERALES to search his vehicle. VILLARREAL-PERALES then provided
agents consent to transport his vehicle to the Rio Grande City POE to be searched by
agents. Agents then transported VILLARREAL-PERALES and his Volkswagen Tiguan
to the Rio Grande City POE to be searched. a

At the POE, US Customs and Border Protection (CBP) Officers conducted an X-Ray of
the Volkswagen Tiguan which revealed anomalies within the rear quarter panels of the
vehicle. A further search of the rear quarter panel area resulted in agents locating thirty-
one (31) bundles wrapped in black tape-and one (1) clear Ziploc bag, which contained
$304, 260. 00 U.S. currency.

While agents were searching the Volkswagen Tiguan, VILLARREAL-PERALES fled from
agents and absconded towards Mexico. After a foot chase, agents apprehended
VILLARREAL-PERALES on the U.S. side of the international bridge separating the U.S.
and Mexico. VILLARREAL-PERALES was then taken into custody by agents.
Case 7:20-mj-00586 Document 1 Filed on 03/04/20 in TXSD Page 3 of 3

In a post-arrest, mirandized interview, VILLARREAL-PERALES stated that he was hired
by an individual from Mexico to pick up and then smuggle U.S. Currency into Tamaulipas,
Mexico through the Rio Grande City, Texas POE. VILLARREAL-PERALES stated that he
travelled to a residence in Rio Grande City, Texas where he concealed 31 bundles of
U.S. currency within a natural void of the Volkswagen Tiguan. VILLARREAL-PERALES |
stated that he believed the bundles contained drug proceeds. VILLARREAL-PERALES -
stated that after picking up the U.S. currency he began driving to the Hibbett.Sports store
located just north of the Rio Grande City POE. VILLARREAL-PERALES stated that he -
planned to park at the Hibbett Sports store in order to. watch CBP Officers to see if they
were aggressively inspecting southbound traffic travelling into Mexico. VILLARREAL-
PERALES stated that if he had observed that CBP Officers were not aggressively
inspecting the southbound traffic, he would have transported the U.S. currency into
Mexico. VILLARREAL-PERALES stated that he was going to be paid $1,500.00 for
_ picking up and transporting the money into Mexico.
